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                          IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                               )
J.O.P., et al.,                                )
                                               )
                 Plaintiffs,                   )
                                               )
        v.                                     ) Case No. 8:19-cv-01944-SAG
                                               )
U.S. DEPARTMENT OF HOMELAND                    )
SECURITY, et al.                               )
                                               )
                 Defendants.                   )
__________________________________________)

                                   [Proposed] ORDER

UPON CONSIDERATION of Defendants’ Motion for Leave to File Declaration Out of Time,

it is this day   of May 2025, ORDERED that:

    1. Motion for Leave to File Declaration Out of Time is GRANTED.

Dated:
                                                HON. STEPHANIE A. GALLAGHER
                                                United States District Judge
